Case 1:20-cv-11976-ADB Document 15 Filed 02/24/21 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 20-cv-11976

 

BETH DONOVAN
Plaintiff,
v.

CITY OF BOSTON
Defendant.

 

 

L.R. 16.1(D)(3) CERTIFICATE OF DEFENDANT, CITY OF BOSTON

Pursuant to L.R. 16(D)(3), counsel for the Defendant, City of Boston, hereby certifies that I have
conferred with the Defendant’s authorized representative:

(a) with a view to a budget for the litigation, from beginning to end, considering the costs of
alternative courses towards resolution; and

(b) the possible resolution of the dispute through ADR mechanisms such as those suggested
in L.R. 16.4.
Signature of Authorized Representative: Respectfully submitted,

DEFENDANT CITY OF BOSTON
By its attorneys:

LAA WZ hae) /s/ Nicole M. O’Connor

  

 

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Case 1:20-cv-11976-ADB Document 15 Filed 02/24/21 Page 2 of 2

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CERTIFICATE OF SERVICE

I, Nicole M. O’Connor, hereby certify that I served a true copy of the above document
upon all counsel of record via this court’s electronic filing system on the date listed
below:

Dated: */ 24/2 | /s/ Nicole M. O’Connor
| Nicole M. O’Connor
